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                                                                               United States Courts
                                                                             Southern District of Texas
                                                                                      FILED
                              UNITED STATES DISTRICT COURT                         July 06, 2022
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION                        Nathan Ochsner, Clerk of Court

UNITED STATES OF AMERICA                              §
                                                      §
   vs.                                                §       CRIMINAL NO.      4:22-CR-320
                                                      §
                                                      §
JOHNATHAN AVERY                                       §
  Defendant.                                          §


                                    CRIMINAL INDICTMENT


THE GRAND JURY CHARGES THAT:

                                            COUNT ONE
                                          (Sex Trafficking)


         On or about March 27, 2022, in the Southern District of Texas and elsewhere, the defendant,

                                      JOHNATHAN AVERY,

did knowingly, in and affecting interstate and foreign commerce, recruit, entice, harbor, transport,

provide, obtain, advertise, maintain, patronize and solicit by any means a person, namely Victim 1,

and benefitted financially and by receiving anything of value from participation in a venture which

has engaged in recruiting, enticing, harboring, transporting, providing, obtaining, maintaining,

advertising, patronizing and soliciting by any means Victim 1 knowing and in reckless disregard of

the fact that means of force, threats of force, fraud, and coercion, and any combination of such

means, would be used to cause Victim 1 to engage in a commercial sex act;

         In violation of Title 18, United States Code, Sections 1591(a), (b)(1) and 2.




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                                    NOTICE OF FORFEITURE
                                      (18 U.S.C. § 1594(d))

       Pursuant to Title 18, United States Code, Section 1594(d), the United States gives notice to

defendant,

                                       JOHNATHAN AVERY,

that in the event of conviction of any of the offenses charged in Count One of this Indictment, the

following property is subject to forfeiture:

(1) all real and personal property that was involved in, used, or intended to be used to commit or to

facilitate the commission of such violation and all property traceable to such property; and

(2) all real and personal property constituting or derived from, proceeds obtained, directly or

indirectly, as a result of such violation and all property traceable to such property.




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                         MONEY JUDGMENT; SUBSTITUTE ASSETS

        Defendant is notified that in the event of conviction, a money judgment may be imposed equal

to the total value of the property subject to forfeiture. Defendant is notified in the event that one or

more conditions listed in Title 21, United States Code, Section 853(p) exists, the United States will

seek to forfeit any other property of the defendant up to the total value of the property subject to

forfeiture.


                                                             A True Bill:


                                                             _____________________
                                                             Grand Jury Foreperson


        JENNIFER B. LOWERY
        UNITED STATES ATTORNEY

By:     __________________________
        LISA M. COLLINS
        Assistant United States Attorney




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